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 1   EDELSBERG LAW, P.A.
     Scott Edelsberg
 2   (California Bar No. 330990)
     scott@edelsberglaw.com
 3   20900 NE 30th Ave., Suite 417
 4   Aventura, Florida 33180
     Telephone: (305) 975-3320
 5   Attorney for Plaintiff
 6                     IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8                                   CASE NO.: 5:19-CV-02456
 9
     JAMAL JOHNSON,                         CLASS ACTION
10   individually and on behalf of all
11   others similarly situated,             PLAINTIFF’S AMENDED
     Plaintiff,                             MOTION FOR PRELIMINARY
12   v.                                     APPROVAL
13   MOSS BROS. AUTO GROUP,
     INC.                                   Date: April 8, 2021
14   and SUSAN ANDERSON,                    Time: 10:00 AM
15   Defendant.                             Ctrm: 6d
     __________________________/            Judge: Hon. Fernando M. Olguin
16
17
18                          NOTICE OF MOTION AND MOTION
19
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
20
           PLEASE TAKE NOTICE, on April 8, 2021 at 10:00 a.m., in Courtroom 6D of
21
     the above caption Court, located at 350 W. 1st Street, 6th Floor, Los Angeles,
22
     California 90012, Plaintiff will and hereby does move for an order to grant preliminary
23
     approval of the class action settlement. This motion is based on this Notice of Motion
24
     and Motion and the Memorandum of Points and Authorities, and upon such other
25
     written or oral argument as may be presented to the Court at the hearing.
26
           This Motion is made following the conference of counsel pursuant to L.R. 7-3, and
27
     subject to a settlement agreement.
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 2
 3
 4   DATED: February 19, 2021

 5   /s/ Scott Edelsberg
 6   Scott Edelsberg, Esq.
     California Bar No. 330990
 7   scott@edelsberglaw.com
 8   EDELSBERG LAW, PA
     20900 NE 30th Ave., Suite 417
 9   Aventura, FL 33180
10   Office: (305) 975-3320

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 1                  PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY
                      APPROVAL OF CLASS ACTION SETTLEMENT AND
 2
                         INCORPORATED MEMORANDUM OF LAW
 3
              Plaintiff, on behalf of himself and a class of similarly situated persons, and with the
 4
     consent of Defendants, respectfully request the entry of an order granting preliminary
 5
     approval of the class action settlement set forth in the Parties’ Settlement Agreement
 6
     (“Settlement Agreement,” “Agreement,” or “Agr.”), conditionally certifying a class for
 7
     settlement purposes only, and providing for issuance of Notice to the Settlement Class. 1
 8
         I.      INTRODUCTION
 9
              The Settlement Agreement will provide each member of the settlement class with
10
     an automatic Settlement Fund Payment, without requiring any claims process. Agr. § III.
11
     If approved, the Settlement will bring an end to what has otherwise been, and likely would
12   continue to be, contentious litigation centered on unsettled legal questions.
13         This motion seeks the entry of an order providing for, among other things:
14            1. Preliminary Approval of the Settlement;
15            2. Conditional certification of a Settlement Class and appointment of the Plaintiff as
16               Class Representatives and Plaintiff’s counsel as Class Counsel;
17            3. Approval of the Settlement Administrator;
18            4. Approval of the Notice program describing:
19                  a. The Settlement and the Settlement Class members’ rights with respect to
20                      the Settlement;
21                  b. The proposed Release of claims;
22                  c. Class Counsel’s request for attorneys’ fees and expenses, as well the
23                      Service Award for the Class Representative; and,
24
25
26   1
      The Agreement is attached as Exhibit A. All capitalized terms used herein have the same
27   definitions as those defined in the Agreement. Attached as Exhibit E is a Compare Report
     outlining the edits the Parties made to the Agreement in response to the Court’s feedback
28   at the preliminary approval hearing on January 20, 2021. [DE #119].
                                                  1
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 1                d. The procedure for opting-out of or objecting to the Settlement, and
 2         5. The scheduling of a Final Approval Hearing to consider Final Approval of the
 3             Settlement.
 4       The Parties’ proposed Settlement is exceedingly fair and well within the range of
 5   Preliminary Approval for several reasons. See Declaration of Scott Edelsberg at ¶ 2,
 6   attached hereto as Exhibit B. First, it provides relief for Settlement Class Members where
 7   their recovery, if any, would otherwise be uncertain, especially given Defendants’ ability
 8   and willingness to continue its vigorous defense of the case. Second, the Settlement was
 9   reached only after first engaging in discovery, extensive arm’s-length negotiations, two
10   private mediation sessions, and confirmatory discovery. Third, the Settlement was not
11   conditioned on any amount of attorneys’ fees for Class Counsel or Service Awards for
12   Plaintiff, which speaks to the fundamental fairness of the process. Edelsberg Decl. at ¶ 3.
13       For all of these reasons, and as further described below, Plaintiff respectfully request
14   that the Court preliminarily approve the Settlement.
15      II.    BACKGROUND
16       The Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and its
17   implementing regulations were enacted by Congress and the Federal Communications
18   Commission to “offer consumers greater protection from intrusive telemarketing calls….”2
19   Defendants coordinated prerecorded telephone call campaigns on behalf of the various car
20   dealerships they manage in which prerecorded messages were sent to Plaintiff and

21   approximately 53,134 unique cell phone numbers. Plaintiff alleged that these campaigns

22   violated the TCPA because the prerecorded messages were sent without Defendants first

23   obtaining express written consent. Defendants deny any wrongdoing and have articulated

24   various challenges to class certification and the merits of Plaintiff’s claim. Defendants also

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26
27
     2
       Federal Communications Commission, Small Entity Compliance Guide for the TCPA
28   (dated May 13, 2013), https://apps.fcc.gov/edocs_public/attachmatch/DA-13-1086A1.pdf.
                                                 2
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 1   have sought to enforce a class-action waiver and arbitration agreement. Plaintiff has
 2   opposed those efforts, and the arbitration matters remain submitted to the Court.
 3      I.    SUMMARY OF THE SETTLEMENT TERMS
 4         The following is a summary of the material terms of the Settlement.
 5            a. The Settlement Class
 6         The proposed Settlement establishes a Settlement Class as follows:
 7                All persons within the United States who, within the four years
 8                prior to the filing of this action (i.e., since December 20, 2015), were
                  sent a prerecorded message from Defendants, auto dealerships
 9                managed by Defendants (the “Dealerships”), or anyone acting on
10                behalf of any Defendant or Dealership (including employees,
                  agents, third-party contractors, and sub-contractors), to said
11                person’s telephone number, for the purpose of advertising and/or
12                promoting any dealership that is held, operated, owned, managed,
                  serviced and/or controlled by, and/or is a subsidiary of, Defendant
13                Moss Bros Auto Group, Inc.
14
         The following are excluded from the Settlement Class: (a) any trial or magistrate judge
15
     presiding over the Action; (b) Defendants, as well as any parent, subsidiary, affiliate or
16
     control person of Defendants, and the officers, directors, agents, servants or employees of
17
     Defendants; (c) any of the Released Parties; (d) the immediate family of any such
18
     person(s); (e) any Settlement Class Member who has timely and properly opted out of this
19
     Settlement; and (f) Plaintiff’s Counsel and their employees. Defendants conditionally agree
20
     and consent to certification of the Settlement Class for purposes of this Settlement only.
21
     The proposed class here is slightly different than the proposed class in the Second
22
     Amended Complaint, [DE #84], but the differences are intended to describe the
23
     relationship more accurately between Defendants and the car dealerships that were the
24
     beneficiaries of the subject marketing campaigns. The proposed class here clarifies that the
25
     prerecorded messages were sent by or on behalf of Defendants to promote car dealerships
26
     they manage, a fact confirmed through formal and settlement discovery. There are no
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                                                  3
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 1   material differences between the proposed Class in the Second Amended Complaint and
 2   the proposed Settlement Class here.
 3            b. Settlement Consideration
 4       Pursuant to the Settlement, Defendants have agreed to create a common fund of
 5   $2,500,000, available for the benefit of Settlement Class Members (“Settlement Fund”).
 6   Agr. §III.
 7                c. The Notice Program
 8       Pending this Court’s approval, Epiq, will serve as the Notice Administrator, and will
 9   be responsible for administrating the Notice Program. The Notice Program consists of five
10   different components: (1) Mailed Notice; (2) Long-Form Notice; (3) a Settlement Website;
11   and (4) a toll-free number. Agr. § VI. The forms of the proposed notices agreed upon by
12   Class Counsel and Defendants, subject to this Court’s approval and/or modification, are
13   attached to the Settlement Agreement as exhibits.
14         The Notice program is designed to provide the Settlement Class with important
15   information regarding the Settlement and their rights thereunder, including a description of
16   the material terms of the Settlement; a date by which Settlement Class members may
17   exclude themselves from or “opt-out” of the Settlement Class; a date by which Settlement
18   Class Members may object to the Settlement, Class Counsel’s fee application and/or the
19   request for a Service Awards; the date of the Final Approval Hearing; information
20   regarding the Settlement Website where Settlement Class members may access the
21   Agreement; and other important documents.
22                     i. Mail Notice
23       The Administrator shall review the Class Settlement Data, utilize methods commonly
24   used in the class administration industry to verify and/or update mailing addresses (e.g.,
25   reverse telephone number look ups, verification through the National Change of Address
26   Database or other reliable sources like LexisNexis and TransUnion), and shall, to the extent
27   reasonably possible, mail the Mailed Notice to all Settlement Class Members. The Mailed
28   Notice program shall be completed no later than 90 days before the Final Approval
                                             4
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 1   Hearing.    The Administrator shall provide Class Counsel and Defendants a sworn
 2   declaration that confirms that the Mailed Notice program was completed in a timely
 3   manner and in accordance with this Agreement and the Preliminary Approval Order. Agr.
 4   ⁋45.
 5                   ii. Long-Form Notice
 6       The Mail Notice will contain the address for the Settlement Website,
 7   www.MOSSTCPAsettlement.com. Agr. ⁋46. On the website, Settlement Class members
 8   will find important documents and court filings, including the Long-Form Notice, which
 9   will contain more detail than the Mail Notice. A copy of the Long Form Notice is attached
10   to the Settlement Agreement as Exhibit 2. Further, the Long Form Notice will be sent to
11   all Settlement Class members who contact the Settlement Administrator by telephone or
12   email and request a copy. Agr. ⁋46.
13                  iii. Settlement Website & Toll-Free Telephone Number
14       The Settlement Administrator will establish a Settlement Website as a means for
15   Settlement Class members to obtain notice of, and information about, the Settlement. Agr.
16   ⁋46. The Settlement Website will include hyperlinks to the Settlement, the Long-Form
17   Notice, the Preliminary Approval Order, and other such documents as Class Counsel and
18   counsel for Defendants agree to post or that the Court orders be posted on the Settlement
19   Website. These documents will remain on the Settlement Website at least until Final
20   Approval.
21       The Settlement Administrator will also establish and maintain an automated toll-free
22   telephone line for Settlement Class members to call with Settlement-related inquiries. Agr.
23   ⁋48.
24          d.    No Claims Process
25       Any Settlement Class member who does not timely and validly request to opt-out shall
26   be bound by the terms of this Agreement and shall automatically be mailed a Settlement
27   Fund Payment. If any Settlement Class Members fail to timely opt-out, they will remain
28   in the Settlement Class and their claims will be released.
                                                  5
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 1         e.     Allocation of the Settlement Fund Payments
 2      Each Settlement Class member who does not opt out of the Settlement shall
 3   automatically be mailed a Settlement Fund Payment payable by check. The amount of
 4   each Settlement Fund Payments shall be determined by the following formula: Net
 5   Settlement Fund divided by total number of unique telephone numbers that received a
 6   Message = Settlement Fund Payment. Agr. ⁋62. Settlement Class Members will receive
 7   payment for each unique telephone number that may have received a prerecorded message.
 8      Any checks that remain uncashed after 180 days or are returned as undeliverable shall
 9   be cancelled and remitted to Defendants. Agr. ⁋65. Here, the parties anticipate very few if
10   any uncashed or undelivered checks because not only are the checks monetarily meaningful
11   (approximately $46) and automatically being send to Settlement Class Members but all
12   Settlement Class Members are customers of Defendants and provided their contact
13   information to Defendants in conjunction with purchasing a vehicle or having their vehicle
14   serviced with Defendants. In short, the contact information collected by Defendants (name,
15   telephone numbers and addresses) is inherently reliable as it was used to conduct high value
16   transactions where back and forth communication is often necessary (buying or servicing
17   a vehicle). Additionally, the Settlement Administrator, in an abundance of caution, will,
18   prior to mailing the checks, utilize methods commonly used in the class administration
19   industry to verify and/or update the mailing addresses (e.g., reverse telephone number look
20   ups, verification through the National Change of Address Database or other reliable sources
21   like LexisNexis and TransUnion). Id. at ⁋45. Thus, because Settlement Class Members will
22   recognize Defendants’ trade names, provided reliable contact information to Defendants,
23   and the Settlement Administrator will take steps to verify the mailing addresses, Class
24   Counsel anticipate that there will be very few if any uncashed or undeliverable checks.
25        f.     Settlement Administrator
26         Pending this Court’s approval, Epiq shall serve as the Settlement Administrator. The
27      Settlement Administrator’s responsibilities may include (but are not necessarily limited
28      to):
                                                  6
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 1         (a) arranging for distribution of the Class Notice to Settlement Class Members;
 2         (b) making any mailings to Settlement Class Members required under the
 3   Agreement;
 4         (c) forwarding written inquiries from Settlement Class Members to Class Counsel
 5      or their designee;
 6         (d) establishing the Settlement Website,
 7         (e) distributing payments to Settlement Class Members; and
 8         (f) otherwise assisting with implementing and administering this Agreement, subject
 9       in all cases to approval by Class Counsel and Counsel for the Defendants.
10         Class Counsel and Defendants may, by agreement, substitute a different organization
11   as Settlement Administrator, subject to approval by the Court if the Court has previously
12   approved the Settlement preliminarily or finally. In the absence of agreement, either Class
13   Counsel or Defendants may move the Court to substitute a different organization as the
14   Administrator upon a showing that the responsibilities of the Administrator have not been
15   adequately executed by the incumbent. Agr. ⁋2.
16    g. Opt-Out and Objection Procedures
17         Settlement Class members who do not wish to participate in the Settlement may opt-
18   out of the Settlement by sending a written request to the Settlement Administrator at the
19   address designated in the Notice. Agr. ⁋51. Settlement Class members who timely opt-out
20   of the Settlement will preserve their rights to individually pursue any claims they may have
21   against Defendant, subject to any defenses that Defendant may have against those claims.
22   The Settlement Agreement details the requirements to properly opt-out of the Settlement
23   Class, and the Settlement Website will include an optional, pre-approved form they may
24   use. The pre-approved opt-out form is attached to the Settlement Agreement as Exhibit 3.
25   A Settlement Class member must opt-out of the Settlement Class by the Opt-Out Period,
26   which is 60 days from mailing of the Notice (and no later than 30 before the Final Approval
27   Hearing). Id. at ⁋19. The Settlement Administrator will communicate any opt-out requests
28   to Class Counsel and Defendant’s Counsel, who will in turn report them to the Court as
                                              7
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 1   part of the Final Approval Hearing and those names will be referenced in an exhibit to the
 2   Final Approval Order.
 3         Settlement Class Members who wish to file an objection to the Settlement must do
 4   so no later than 60 days from the mailing of the Notice (which shall be at least 30 days
 5   before the Final Approval Hearing). Id. at ⁋⁋ 19, 53. Pending Court approval, for an
 6   objection to be considered by the Court, it must include the following:
 7    a. the name of the Action;
      b. the objector’s full name, address, current telephone number, and telephone number to
 8
          which any Messages may have been sent;
 9    c. an explanation of the basis upon which the objector claims to be a Settlement Class
          Member;
10
      d. all grounds for the objection, accompanied by any legal support for the objection
11        known to the objector or his counsel;
      e. the number of times in which the objector has objected to a class action settlement
12
          within the five years preceding the date that the objector files the objection, and the
13        name, court, and case number of each case in which the objector has made such an
          objection,;
14
      f. the identity of all counsel who represent the objector or may appear at the Final
15        Approval Hearing on the objector’s behalf;
      g. any and all agreements that relate to the objection or the process of objecting—
16
          whether written or oral—between objector or objector’s counsel and any other person
17        or entity;
      h. a statement confirming whether the objector intends to personally appear and/or
18
          testify at the Final Approval Hearing; and
19    i. the objector’s signature (an attorney’s signature is not sufficient).
20       Id. at ⁋54.
21    h. Release of Claims
22         In exchange for the Settlement consideration, Plaintiff and all Settlement Class
23   Members, have agreed to the release as defined in the Agreement. Agr. § XII. The Release
24   is expressly limited to claims concerning the allegations and contentions made in this
25   lawsuit, i.e. claims under the TCPA and similar statutes, laws, or regulations concerning
26   any marketing, advertising, promotional activities, text messages, phone calls, voicemails,
27   auto-dialed communications, and voice messages that were directed to Settlement Class
28   Members by or on behalf of either Defendant, the Moss Bros. Dealerships, or their outside
                                                  8
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 1   vendors. Id. Additionally, the California Civil Code Section 1542 waiver was expressly
 2   limited to claims that relate to the factual allegations and/or legal assertions made in the
 3   operative Second Amended Complaint. Id. at ⁋67.
 4    i. Class Counsel Fees and Expenses and Plaintiff’s Service Award
 5         Defendants have agreed not to oppose Class Counsel’s request for attorneys’ fees
 6   and expenses of up to 25% of the Settlement Fund and up to $75,000 for reimbursement of
 7   costs and expenses. Defendants have also agreed not to oppose an application for a Service
 8   Award up to $5,000.00 The Court should consider whether to grant or deny these awards
 9   separate and apart from its consideration of the fairness and reasonableness of the
10   Settlement.
11      IV. THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY
              APPROVAL
12
           A class action may not be dismissed, compromised, or settled without the
13
     approval of the Court. Fed. R. Civ. Proc. 23(e). The decision to approve or reject a proposed
14
     settlement “is committed to the sound discretion of the trial judge[.]” See Hanlon v.
15
     Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). This discretion is to be exercised “in
16
     light of the strong judicial policy that favors settlements, particularly where complex
17
     class action litigation is concerned,” which minimizes substantial litigation expenses for
18
     both sides and conserves judicial resources. See Linney v. Cellular Alaska P’ship, 151
19
     F.3d 1234, 1238 (9th Cir. 1998) (quotations omitted). To make the preliminary fairness
20
     determination, courts may consider several relevant factors, including “the strength of
21
     the plaintiffs’ case; the risk, expense, complexity, and likely duration of further litigation;
22
     the risk of maintaining class action status through trial; the amount offered in settlement;
23
     the extent of discovery completed and the stage of the proceedings; [and] the experience
24
     and views of counsel ...” Hanlon, 150 F.3d at 1026. In addition, Rule 23(e)(2) was recently
25
     amended, requiring parties to provide courts with sufficient information to determine that
26
     it will likely be able to approve the settlement as fair, reasonable, and adequate. The
27
     considerations are whether (a) the class representatives and class counsel have adequately
28
                                                   9
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 1   represented the class; (b) the proposal was negotiated at arm’s length; (c) the relief provided
 2   by the settlement is adequate, taking into account: (i) the costs, risks, and delay of trial and
 3   appeal; (ii) the effectiveness of any proposed method of distributing relief including the
 4   method of processing class-member claims, if required; (iii) the terms of any proposed award
 5   of attorneys’ fees, including timing of payment; and (iv) any agreement required to be
 6   identified under Rule 23(e)(3) made in connection with the proposed settlement; and (d)
 7   the proposal treats class members equitably relative to each other. Under both standards,
 8   which include overlapping factors, the proposed Settlement is fair, reasonable, and
 9   adequate, and should be preliminarily approved.
10    a. The Settlement was Reached as the Result of Arm’s Length Negotiations with
         Two Experienced Mediators
11
           The Parties have actively litigated the action and there are currently pending
12
     motions and the Court has issued orders regarding contested discovery disputes. At all
13
     times, the Parties’ interactions were adversarial. The proposed Settlement is the result of
14
     two arm’s-length negotiations with two experienced mediators. The time and effort spent
15
     on settlement negotiations, as well as the time spent in mediation with Ted Bandstra and Jill
16
     Sperber, militate in favor of preliminary approval of the proposed Settlement and strongly
17
     indicate there was no collusion. Edelsberg Decl., ¶ 4. See National Rural
18
     Telecommunications Cooperative v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal.
19
     2004) (settlements that follow sufficient discovery and genuine arms-length negotiation
20
     are presumed fair); Rodriguez v. W. Publishing, 563 F.3d 948, 965 (9th Cir. 2009) (“We
21
     put a good deal of stock in the product of an arms length, non-collusive, negotiated
22
     resolution.”).
23
           The Ninth Circuit has identified “red flags” that may suggest that plaintiffs’ counsel
24
     allowed pursuit of their own self-interest to infect settlement negotiations, including when
25
     counsel receive a disproportionate portion of the settlement, the parties agree to a “clear
26
     sailing” arrangement providing for the payment of attorneys’ fees separate and apart from
27
     class funds, or the parties agree that any fees not awarded will revert to defendants
28
                                                   10
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 1   rather than be added to the class fund. In re Bluetooth Headset Products Liab. Litig.,
 2   654 F.3d 935, 947 (9th Cir. 2011).
 3         Here, none of the typical red flags point towards collusion. First, there is no “clear sailing”
 4   provision because the Settlement Agreement allows Class Counsel “to request 25% of the
 5   settlement Fund for attorneys’ fees” but Defendant does not make an affirmative promise not to
 6   oppose that request. Agr. ⁋71. Further, even if this provision was considered a “clear sailing”
 7   provision, any attorney’s fees not awarded to Class Counsel will remain part of the
 8   Settlement Fund, which demonstrates a lack of collusion. See Anderson v. Sherwin-
 9   Williams Co., No. ED CV 17-2459 FMO (SHKx), 2020 U.S. Dist. LEXIS 197713, at *15
10   (C.D. Cal. Oct. 23, 2020) (this Court reviewing a clear sailing provision and finding no
11   collusion because any fees not awarded to class counsel will stay with the settlement fund).
12   Another sign that the settlement is fair and not the result of collusion is the fact that Class
13   Counsel will be paid from the same Settlement Fund as Settlement Class Members. As
14   such, Class Counsel was incentivized to negotiate the largest fund possible. Finally, it
15   cannot be said that Class Counsel is seeking a disproportionate portion of the settlement as
16   Settlement Class Members will receive approximately $46, which is in line with recent
17   TCPA settlements, while Class Counsel is seeking the benchmark of 25%3 of the
18   Settlement Fund. Aboudi v. T-Mobile USA, Inc., No. 12cv2169 BTM(NLS), 2015 U.S.
19   Dist. LEXIS 109054, at *14 (S.D. Cal. Aug. 18, 2015) (Noting that class counsel’s request
20   for 25% of the settlement fund is “typical and does not represent a disproportionate
21   distribution of the settlement to counsel.”); Larson v. Harman-Mgmt. Corp., No. 1:16-cv-
22   00219-DAD-SKO, 2019 U.S. Dist. LEXIS 219294, at *20 (E.D. Cal. Dec. 18, 2019)
23   (noting that a $50 recover per class member would be in line with other TCPA settlements).
24   Charvat v. Valente, No. 12-cv-05746, 2019 U.S. Dist. LEXIS 187225, at *5 (N.D. Ill. Oct.
25   28, 2019) (approving TCPA settlement of approximately $22 per class member); Couser
26
27
     3
      The Court will, of course, have ultimate discretion over the amount of the attorneys’ fee
28   award after reviewing Class Counsel’s motion.
                                                  11
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 1   v. Comenity Bank, 125 F. Supp. 3d 1034, 1044 (S.D. Cal. 2015) (approving a TCPA class
 2   settlement where each of the 308,026 approved claim members (or a 7.7% claims rate)
 3   received $13.75).
 4     b. The Relief Provided by the Settlement is Fair and Reasonable Considering that
          Arbitrability and Liability are Highly Contested
 5
            Defendants have vigorously contested the claims asserted by Plaintiff. While both
 6
     sides strongly believe in the merits of their respective cases there are risks to both in
 7
     continuing the Action. The first is whether Defendants would prevail on their pending
 8
     motions to compel Plaintiff’s claims to arbitration and enforce a class-action waiver
 9
     contained in the sales agreement he signed when he purchased a vehicle from the Moss
10
     Bros. Moreno Valley dealership, which has sought to intervene in this action. See
11
     Defendant’s Motions at DE’s #56, #57, #58, #97-99. Plaintiff opposed all of those motions
12
     and continues to believe they should be denied, but class counsel acknowledge that the
13
     risks posed by those motions justify the settlement.
14
            The second risk is whether Plaintiff would have prevailed on a motion for class
15
     certification. Defendants contend that Plaintiff and members of the putative class provided
16
     consent to be called, and that they obtained consent from customers in a variety of ways.
17
     If the action were to continue without a settlement and Plaintiff were to move for class
18
     certification, Defendants would argue that consent is an individualized issue that
19
     precludes class certification. Defendants also contend that each putative class member would
20
     have signed a car purchase agreement with one of the eight Moss Bros. dealerships, and that this
21
     poses additional obstacles to class certification, e.g. individualized issues concerning the
22
     enforceability of the arbitration provisions and class-action waivers, and whether Plaintiff may serve
23
     as class representative for customers who purchased a vehicle from different dealerships.
24
            Courts within this Circuit have reached different conclusions on whether to certify
25
     TCPA class actions. Compare Felix v. N. Am. Asset Servs., LLC, No. CV 12-3718-JFW
26
     (ANx), 2012 U.S. Dist. LEXIS 191548, at *7 (C.D. Cal. Sep. 5, 2012) (denying class
27
     certification), Connelly v. Hilton Grand Vacations Co., LLC, 294 F.R.D. 574, 579 (S.D.
28
                                                      12
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 1   Cal. Oct. 29, 2013) (same), and Fields v. Mobile Messengers Am., Inc., No. 12-cv-05160-
 2   WHA, 2013 U.S. Dist. LEXIS 163950 (N.D. Cal. Nov. 18, 2013) (same), with Stern v.
 3   DoCircle, Inc., No. SACV 12-2005 AG (JPRx), 2014 U.S. Dist. LEXIS 17949 (C.D. Cal.
 4   Jan. 29, 2014) (certifying TCPA class), Caldera v. Am. Med. Collection Agency, 320
 5   F.R.D. 513 (C.D. Cal. June 27, 2017) (same), and Makaron v. Enagic USA, Inc., 324 F.R.D.
 6   228 (C.D. Cal. Mar. 13, 2018) (same).
 7      Moreover, even if Plaintiff were to prevail at class certification, risks to the class
 8   remain. See West Virginia v. Chas. Pfizer & Co., 314 F. Supp. 710, 743-44 (S.D.N.Y.
 9   1970) (“[i]t is known from past experience that no matter how confident one may be of the
10   outcome of litigation, such confidence is often misplaced”), aff’d, 440 F.2d 1079 (2d Cir.
11   1971); Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263 (2d Cir. 1979) (reversing
12   $87 million judgment after trial). In fact, even if Plaintiff prevailed at trial and on any
13   appeal, the damages available under the TCPA in a class action are so significant that
14   they make it hard for any company to bond an appeal and satisfy the judgment. A
15   judgment on behalf of the approximately 53,134 Settlement Class Members would total
16   nearly $27 million, which could then be subject to trebling up to $81 million. Thus, in
17   addition to the risk of a loss at trial, even a verdict for Plaintiff posed a substantial risk
18   that the judgment would never be paid. Securing a $2.5 million settlement now with certainty
19   of payment will provide relief to Settlement Class Members. Plaintiff and his counsel
20   carefully balanced the risks of continuing to engage in protracted and contentious
21   litigation against the benefits to the Settlement Class, including the amount of the Settlement
22   Fund and the deterrent effects it would have. See Edelsberg Decl., ¶ 5. Thus, the Settlement
23   presents a fair and reasonable alternative to continued litigation.
24         c.     The $2,500,000 Fund Provides a Fair and Substantial Class Benefit
25        As set forth above, Defendants have agreed to provide a $2,500,000 Settlement Fund,

26   which will be used to pay all claiming Settlement Class Members and all settlement

27   costs. Class Counsel estimate that the individual Settlement Class Members award will be

28   approximately $46, less attorneys’ fees and costs and notice and administration costs. See

                                                   13
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 1   Edelsberg Decl., ¶ 6. Although this amount is less than the TCPA’s statutory damages of
 2   $500 for each negligent violation, it is well-settled that a proposed settlement need not
 3   provide class members with the type of recovery they could obtain following a total win at
 4   trial. See National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal.
 5   2004) (“well settled law that a proposed settlement may be acceptable even though it
 6   amounts to only a fraction of the potential recovery”); In re Omnivision Tech., Inc., 559
 7   F. Supp. 2d 1036 (N.D. Cal. Jan. 9, 2008) (court-approved settlement amount that was just
 8   over 9% of the maximum potential recovery).
 9        Here, the settlement award that each Settlement Class Member will likely receive
10   is fair, appropriate, and reasonable in light of the risk, expense, and uncertainty of
11   continued litigation within the TCPA’s changing landscape. This is clearly explained to
12   Settlement Class Members in the notice so they understand what they are giving up by
13   participating in the settlement. Indeed, the estimated award of $47 is equal to or exceeds
14   payments in other TCPA settlements approved in California and across the country.
15   Steinfeld v. Discover Fin. Servs., No. C 12-01118, Dkt. No. 96 at ¶ 6 (N.D. Cal. Mar. 10,
16   2014) (claimants received $46.98); Adams v. AllianceOne Receivables Mgmt., Inc., No.
17   3:08-cv-00248-JAH-WVG, Dkt. No. 137 (S.D. Cal. Sept. 28, 2012) (claimants received
18   $40); Kramer v. Autobytel, Inc., et al., No. 10-cv-2722, Dkt. 148 (N.D. Cal. 2012) (cash
19   payment of $100 to each class member); Estrada v. iYogi, Inc., No. 2:13–01989 WBS
20   CKD, 2015 WL 5895942, at *7 (E.D. Cal. Oct. 6, 2015) (granting preliminary approval to
21   TCPA settlement where class members estimated to receive $40); Rose v. Bank of Am.
22   Corp., 2014 WL 4273358, at *10 (N.D. Cal., 2014) (claimants estimated to receive $20
23   to $40); In re Capital One Tel. Consumer Prot. Act Litig. (In re Capital One), 80 F.
24   Supp. 3d 781, 787 (N.D. Ill. 2015) (each claimant received $34.60); Arthur v. Sallie
25   Mae, Inc., 10-cv-0198-JLR (W.D. Wash.) (Class members were to receive between $20 and
26   $40 dollars per claim); Fox v. Asset Acceptance, LLC, No. 2:14-cv-00734-GW-FFM (C.D.
27   Cal. June 20, 2016) (estimating recovery between $11.79 and $28.22 per person at time
28   of fairness hearing, from the cash component of the settlement); Sherman v. Kaiser
                                            14
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 1   Foundation Health Plan, Inc., 13-cv-00981-JAH-JMS (S.D. Cal.) (individual recovery of
 2   $39.68 per claimant).
 3            d. Experienced Counsel Determined that the Settlement is Appropriate and
                  Fair to the Class
 4
           The opinion of experienced counsel supporting the settlement is entitled to
 5
     considerable weight. See e.g., Kirkorian v. Borelli, 695 F. Supp. 446 (N.D. Cal.1988)
 6
     (opinion of experienced counsel carries significant weight in terms of the reasonableness
 7
     of the settlement); Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979). Based
 8
     on these standards, Plaintiff’s counsel respectfully submit that, for the reasons detailed
 9
     herein, the Court should preliminarily approve the proposed Settlement as fair,
10
     reasonable and adequate. Edelsberg Decl., ¶ 7. The Parties are represented by counsel
11
     experienced in complex class action litigation. Class Counsel have extensive experience
12
     in class actions, as well as particular expertise in class actions relating to consumer
13
     protection and specifically the TCPA. Edelsberg Decl., ¶ 8 and Composite Exhibit 1.
14
     Similarly, Counsel for Defendants have extensive experience based upon a long track record
15
     in complex class actions. Defense counsel has vigorously defended their clients
16
     throughout this case including through motion practice. Class Counsel believe that the
17
     proposed Settlement is fair, reasonable and adequate and in the best interests of the
18
     Class Members. See Edelsberg Decl., ¶ 9.
19           e. The Settlement will be Fairly Distributed
20      Any Settlement Class member who does not timely and validly request to opt-out shall
21   be bound by the terms of this Agreement and shall automatically be mailed a Settlement
22   Fund Payment. If any Settlement Class Members fail to timely opt-out, they will remain
23   in the Settlement Class and their claims will be released. Each Settlement Class member
24   who does not opt out of the Settlement shall automatically be mailed a Settlement Fund
25   Payment payable by check. The amount of each Settlement Fund Payments shall be
26   determined by the following formula: Net Settlement Fund divided by total number of
27   unique telephone numbers that received a Message = Settlement Fund Payment.
28
                                                15
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 1   Settlement Class Members will receive payment for each unique telephone number that
 2   may have received a prerecorded message.
 3         Plaintiff will seek Court approval of a $5,000 Incentive Award. The Ninth Circuit
 4   has explained that service awards that are “intended to compensate class representatives
 5   for work undertaken on behalf of a class ‘are fairly typical in class action cases.’” In re Online
 6   DVD-Rental Antitrust Litig., 779 F.3d 934, 943 (9th Cir. 2015) (quoting Rodriguez, 563
 7   F.3d at 958-59). The factors courts consider include the class representative’s actions to
 8   protect the interests of the class, the degree to which the class has benefitted from those
 9   actions, the time and effort the class representative expended in pursuing the litigation,
10   and any risk the class representative assumed. Staton v. Boeing Co., 327 F.3d 938, 977
11   (9th Cir. 2003). Plaintiff devoted significant time assisting Class Counsel in this case,
12   including assisting with development of the case, and making himself available for two
13   mediations. See Exhibit C, Declaration of Plaintiff Jamal Johnson.
14         Service Awards of $5,000 are reasonable and in line with awards approved by federal
15   courts in California. See, e.g., In re Nat’l Collegiate Athletic Ass’n, No. 4:14- md-2541-CW,
16   2017 WL 6040065, at *11 (N.D. Cal. Dec. 6, 2017) (awarding $20,000 incentive awards to
17   each of four class representatives and collecting cases approving similar awards); see
18   Vandervort, et al. v. Balboa Capital Corp., 8 F.Supp.3d 1200, 1207 (C.D. Cal. 2014)
19   (awarding combined $10,000 incentive award to the two plaintiffs in TCPA case);
20   Stemple v. QC Holdings, Inc., No. 12-cv-01997-BAS(WVG), 2016 U.S. Dist. LEXIS
21   157244, *10-11 (S.D. Cal. Nov. 7, 2016 (approving service award of $5,000); Abdeljalil
22   v. GE Capital Retail Bank, 3:12-cv 02078-JAH-MDD (S.D. Cal. Dec. 22, 2016) (approving
23   service award of $5,000). No agreements have been made in connection with the proposed
24   Settlement other than the Settlement Agreement. See Fed. R. Civ. P. 23(e)(3).
25            f. The Court Should Conditionally Certify the Class for Purposes of
                 Settlement
26
           Courts acknowledge the propriety of class certification for purposes of class action
27
     settlements. See In re Wireless Facilities, 253 F.R.D. 607, 610 (S.D. Cal. 2008) (“Parties
28
                                                    16
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 1   may settle a class action before class certification and stipulate that a defined class be
 2   conditionally certified for settlement purposes”). It is well established that trial courts
 3   should use a lower standard for determining the propriety of certifying a settlement class,
 4   as opposed to a litigation class. The reason for this is that no trial is anticipated in a
 5   settlement class, so the case management issues inherent in determining if the class should
 6   be certified need not be confronted. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620
 7   (1997); Jabbari v. Farmer, 965 F.3d 1001, 1005–06 (9th Cir. 2020) (“Settlement may
 8   obviate the need to litigate individualized issues that would make a trial unmanageable,
 9   making common questions more important in the relative analysis.”) (citations and
10   quotations omitted); In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 558 (9th Cir.
11   2019) (Rule 23 “factors must be considered in light of the reason for which certification is
12   sought—litigation or settlement—which ‘is relevant to a class certification.’ . . . [I]n
13   deciding whether to certify a settlement-only class, ‘a district court need not inquire
14   whether the case, if tried, would present intractable management problems.’”). However,
15   like any other class certification decision, certification of a class for settlement purposes
16   requires a determination that the requirements of Rule 23 are met. Id. Certification of
17   a settlement class is appropriate here because the action meets the requirements of Rule
18   23(a) and Rule 23(b)(3). See Caldera, 320 F.R.D. at 517-520; Makaron, 324 F.R.D. at 232-
19   235; Stemple v. QC Holdings, Inc., 2014 U.S. Dist. LEXIS 125313, *26 (S.D. Cal. Sept.
20   5, 2014).
21         Of course, Defendants have vigorously denied that that certification would be
22   appropriate for litigation in light of their defense concerning arbitration, class-action
23   waivers, compliance with the law, and individualized issues concerning each customer and
24   dealership.   But the class-wide settlement here resolves the significant obstacles to
25   certifying a class on the merits. Thus, in agreeing to conditionally certify the class for
26   settlement purposes, Defendants have expressly preserved all defenses and arguments
27   against class certification on the merits, in the event the settlement is not approved. Agr.
28   34-36.
                                                  17
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 1                   i. The Proposed Settlement Class is Numerous
 2      Class certification under Rule 23(a)(1) is appropriate where a class contains so many
 3   members that joinder of all would be impracticable. “Impracticability does not mean
 4   ‘impossibility,’ but only the difficulty or inconvenience of joining all members of the
 5   class.’” Harris v. Palm Springs Alpine Estates, Inc., 329 F.2d 909, 913-14 (9th Cir. 1964)
 6   (citation omitted). The Settlement Class here consists of approximately 54,134 unique
 7   individuals, which more than satisfies the numerosity prerequisite under Fed. R. Civ. P.
 8   23(a)(1). See also, Abdeljalil v. GE Capital Corp., 306 F.R.D. 303, 308 (S.D. Cal. Mar. 26,
 9   2015).
                     ii. The Class-wide Settlement Resolves Common Questions
10
           The commonality requirement is met if there are questions of law and fact common
11
     to the class. Hanlon, 150 F.3d at 1019 (“The existence of shared legal issues with
12
     divergent legal factual predicates is sufficient, as is a common core of salient facts
13
     coupled with disparate legal remedies within the class.”). The claims being released under
14
     the class-wide settlement all stem from the same basic factual circumstances—marketing
15
     calls sent on behalf of dealerships managed by Defendants with a prerecorded voice
16
     message. See Abdeljalil, 306 F.R.D. at 309 (finding commonality where plaintiff alleged
17
     “defendant called third parties on their cellular telephone number via an ATDS and/or
18
     prerecorded voice without prior express consent after defendant was on notice that it was
19
     calling a third party”); see also, Caldera, 320 F.R.D. at 517 (listing common issues in
20
     TCPA action).
21
           The settlement also resolves in one fell swoop a number of questions of law that
22
     Plaintiff contends are common to all members of the Class, including whether: (1)
23
     Defendants were agents of the various dealerships; (2) called “cellular” telephone numbers;
24
     (3) using a prerecorded voice; (4) without the called party’s “prior express consent”. See
25
     Lemieux v. Schwan's Home Serv., 2013 U.S. Dist. LEXIS 98735, *22 (S.D. Cal. July 15,
26
     2013). The named Plaintiff here seeks the same remedies, including statutory damages.
27
     Thus, the commonality requirement is satisfied.
28
                                                 18
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 1                    iii. In the Context of this Class-wide Settlement, Plaintiff’s Claims are
                           Typical
 2
           The typicality requirement is met if the claims of the named representatives are
 3
     typical of those of the class, though “they need not be substantially identical.” Hanlon,
 4
     150 F.3d at 1020. Under the settlement here, Plaintiff’s claims are typical of the potential
 5
     claims of the whole Settlement Class because the releases arise from the same factual basis
 6
     – the allegation that Defendants caused prerecorded marketing calls to be sent to members of
 7
     the class without first obtaining proper consent– and are based on the same legal theory as
 8
     applies to the Class as a whole – that the calls violated the TCPA. See Wehne v. Syntex
 9
     Corp., 117 F.R.D. 641, 644 (N.D. Cal. 1987). Thus, the typicality requirement for
10
     certifying a settlement class is satisfied. See Malta v. Fed. Home Loan Mortg. Corp.,
11
     2013 U.S. Dist. LEXIS 15731, *7 (S.D. Cal. Feb. 5, 2013) (“Plaintiffs’ claims arise
12
     from the same factual basis as that of the class: calls made to Plaintiffs using auto-dialing
13
     equipment. … In addition, plaintiffs’ claims are based on the same legal theory as that
14
     applicable to the class.”); Stern, 2014 U.S. Dist. LEXIS 17949 at *12; Abdeljalil, 306
15
     F.R.D. at 309.
16                    iv. Adequacy Requirement is Satisfied
17         Rule 23(a)(4) is satisfied if “the representative parties will fairly and adequately
18   protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Court must measure the
19   adequacy of representation by two standards: “(1) Do the representative plaintiffs and
20   their counsel have any conflicts of interest with other class members, and (2) will the
21   representative plaintiffs and their counsel prosecute the action vigorously on behalf of the
22   class?” In re Wireless Facilities, 253 F.R.D. at 611 (quoting Staton v. Boeing Co., 327
23   F.3d 938, 958 (9th Cir. 2003)). Plaintiff should be appointed Settlement Class
24   Representative. Plaintiff has been diligent in prosecuting his claims and the putative class
25   claims and Plaintiff’s counsel participated in private mediation before two well respected
26   mediators. Plaintiff assisted his counsel in the initial factual investigation and provided
27   details concerning the calls from Defendants and served and responded to written
28   discovery. Plaintiff additionally reviewed and agreed with the terms of the Settlement
                                                19
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 1   Agreement. Also, Plaintiff’s attorneys have extensive experience prosecuting class actions
 2   seeking to protect privacy and consumer rights, including TCPA actions. Plaintiffs’ counsel
 3   are qualified and able to conduct this litigation as Class Counsel, and there are no known
 4   conflicts of interest. Edelsberg Decl., ¶ 10.
 5                    v. Common Questions Predominate in the Context of this Class-wide
                          Settlement
 6
          Class certification under Rule 23(b)(3) is appropriate where “questions of law or fact
 7
     common to class members predominate over any questions affecting only individual
 8
     members.” Fed. R. Civ. P. 23(b)(3). The inquiry focuses on whether the class is
 9
     “sufficiently cohesive to warrant adjudication by representation.” Local Joint Exec. Bd. of
10
     Culinary/Bartender Trust Fund v. Las Vegas Sands, Inc., 244 F.3d 1152, 1162 (9th Cir.
11
     2001). Central to this question is “the notion that the adjudication of common issues will
12
     help achieve judicial economy.” Zincser v. Accufix Research Institute, Inc., 253 F.3d
13
     1188, 1189 (9th Cir. 2001) (citation omitted), as amended, 273 F. 3d 1266 (9th Cir. 2001).
14
           In the settlement context, a court’s evaluation of Rule 23’s predominance and
15
     manageability standards are relaxed. That is because class-wide settlement may “obviate[
16
     ] the need to litigate individualized issues that would make a trial unmanageable, making
17
     common questions more important in the relative analysis.” Jabbari v. Farmer, 965 F.3d
18
     1001, 1005–06 (9th Cir. 2020); see also In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d
19
     at 558 (“[W]hether a proposed class is sufficiently cohesive to satisfy Rule 23(b)(3) is
20
     informed by whether certification is for litigation or settlement. A class that is certifiable
21
     for settlement may not be certifiable for litigation if the settlement obviates the need to
22
     litigate individualized issues that would make a trial unmanageable.”); McConville v.
23
     Renzenberger, Inc., No. CV 17-2972 FMO (JCX), 2019 WL 9408103, at *3 (C.D. Cal.
24
     Dec. 2, 2019) (The “courts need not consider the Rule 23(b)(3) issues regarding
25
     manageability of the class action, as settlement obviates the need for a manageable trial.”).
26
     “The main concern in the predominance inquiry … [is] the balance between individual and
27
     common issues.” In re Wells Fargo Home Mortg. Overtime Pay Litig., 571 F.3d 953, 959
28
                                                  20
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 1   (9th Cir. 2009). In the context of a settlement-only class, “a district court need not inquire
 2   whether the case, if tried, would present intractable management problems . . . for the
 3   proposal is that there be no trial.” Amchem Prods., 521 U.S. at 620.
 4         Here, the class-wide Settlement provides the required “cohesion” by resolving common
 5   questions that Plaintiff would need to substantiate if forced to seek class certification on the
 6   merits of his claims, such as: (1) whether Defendants violated the TCPA by making
 7   artificial or prerecorded calls, and (2) whether Defendants obtained proper express written
 8   consent. See Makaron, 324 F.R.D at 234 (finding predominance in light of plaintiffs’
 9   claims they received autodialed or prerecorded calls, and that defendant was vicariously
10   liable for actions of its distributors); Abdeljalil, 306 F.R.D. 303, 310-12; Malta, 2013 U.S.
11   Dist. LEXIS 15731 at *10 (“The central inquiry is whether Wells Fargo violated the TCPA
12   by making calls to the class members.”). The Settlement’s common treatment of Settlement
13   Class Members using a fair and neutral formula avoids any individualized issues
14   concerning highly contested issues like arbitrability and consent. For purposes of this
15   settlement, the predominance requirement is satisfied.
16                   vi. Superiority Element is Satisfied
17         Class certification is also “superior to other available methods for fair and efficient

18   adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3). Here, there are thousands

19   of class members with modest individual claims, most of whom likely lack the resources

20   necessary to seek individual legal redress. See Local Joint Exec. Bd. of Culinary/

21   Bartender Trust Fund v. Las Vegas Sands, Inc., 244 F.3d 1152, 1163 (9th Cir. 2001)

22   (cases involving “multiple claims for relatively small individual sums” are particularly

23   well suited to class treatment); see also Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d

24   1168, 1175 (9th Cir. 2010) (“Where recovery on an individual basis would be dwarfed by

25   the cost of litigating on an individual basis, this factor weighs in favor of class

26   certification.”). A class-wide settlement that provides an automatic payment to those who

27   do not opt-out is far superior to taking the risk that class certification on the merits may not

28   be granted or pursuing individual claims.

                                                   21
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 1             g. The Notice Plan Complies with Rule 23(e) and Due Process
 2          Rule 23(e)(1) states that “[t]he court must direct notice in a reasonable manner to all
 3   class members who would be bound by” a proposed settlement, voluntary dismissal, or
 4   compromise. Class members are entitled to the “best notice that is practicable under the
 5   circumstances” of any proposed settlement before it is finally approved by the Court.
 6   Fed. R. Civ. P. 23(c)(2)(B). The amendments to Rule 23(c)(2)(B) provide that “notice
 7   may be by one or more of the following: United States mail, electronic means, or other
 8   appropriate means.” To comply with due process, notice must be “the best notice
 9   practicable under the circumstances, including individual notice to all members who can
10   be identified through reasonable effort.” Amchem Prods. v. Windsor, 521 U.S. 591, 617
11   (1997). Notice must state in plain, easily understood language: (i) the nature of the action;
12   (ii) the definition of the class certified; (iii) the class claims, issues, or defenses; (iv) that a
13   class member may enter an appearance through an attorney if the member so desires; (v)
14   that the court will exclude from the class any member who requests exclusion; (vi) the time
15   and manner for requesting exclusion; and (vii) the binding effect of a class judgment on
16   members. Fed. R. Civ. P. 23(c)(2)(B).
17           This Settlement provides for a Notice Plan that will include direct mail notice to

18   Settlement Class Members whose cellular telephone numbers were called by Defendants

19   during the Class Period. Edelsberg Decl., ¶11. In addition, Settlement Administrator Epiq

20   will maintain a Settlement Website with a Long-Form Notice, detailed information about

21   the Settlement, and a toll-free number that anyone may call to obtain information. The

22   Notice Plan fulfills the requirements of adequate notice for due process purposes and

23   should be preliminarily approved. Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1374-

24   75 (9th Cir. Ariz. 1993); Malta, 2013 U.S. Dist LEXIS 15731 at *29-30; Rule 23(c)(2);

25   Manual, 3d. 30.21.

26           All of the notices, attached as Exhibits 1 and 2 to the Settlement Agreement, are

27   drafted in plain English, so they will be easy to understand. They include key information

28   about the Settlement, including the deadline to file a claim, the deadline to request exclusion

                                                     22
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 1   or object to the Settlement, and the date of the Final Approval Hearing (and that the hearing
 2   date may change without further notice). The notices state the amount of the fee and cost
 3   award Class Counsel will request, the amount of the Incentive Award Plaintiffs will
 4   request, and the maximum Administrative Expenses. The notices disclose that, by
 5   participating in the Settlement, Settlement Class Members give up the right to file their
 6   own lawsuit. They direct Settlement Class Members to the Settlement Website for further
 7   information where copies of the notices and the Settlement Agreement. The manner and
 8   content of the proposed Notice Plan complies with Rule 23 and due process. Similar notice
 9   plans are commonly used in class actions like this one and constitute the best notice
10   practicable under the circumstances. See, e.g., Spann v. J.C. Penney Corp., 314 F.R.D.
11   312, 330 (C.D. Cal. 2016) (approving a settlement notice program of emails and
12   postcards to class members with known addresses as well as publication in magazines
13   and on the internet); In re Cathode Ray Tube (Crt) Antitrust Litig., No. C-07-05944 JST,
14   2015 WL 6871439, at *1-2 (N.D. Cal. Nov. 9, 2015) (approving notice plan of mailing
15   to class members identified by defendants, publication in two newspapers, and posting
16   on the internet); see also, Newberg on Class Actions § 8:29 (5th ed. June 2018) (“While
17   notice by mail is generally preferred for class members who have been identified, notice
18   by publication has traditionally served an important supplemental role.”).
19      V.    Proposed Schedule of Events
20          In connection with Preliminary Approval of the Settlement, the Court should also

21   set a date and time for the Final Approval Hearing. Other deadlines in the Settlement

22   approval process, including the deadlines for requesting exclusion from the Settlement

23   Class or objecting to the Settlement, will be determined based on the date of the Final

24   Approval Hearing or the date on which the Preliminary Approval Order is entered. Class

25   Counsel propose the following schedule:

26
27
28
                                                  23
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 1
 2                       Event                                Timeline
 3         Deadline for Completion of Notice   60 days after entry of the Preliminary
 4                                             Approval Order; no later than 90 days
 5                                             before the Final Approval Hearing
 6         Deadline for filing Motion for
 7         Final Approval of the Settlement
                                               No later than 45 days before the Final
           and Class Counsel’s Fee
 8         Application and expenses, and for   Approval Hearing
 9         the Service Awards

10         Deadline for opting-out of the      60 days from mailing of the Notice; no
11         Settlement and for submission of
                                               later than 30 days before the Final
           Objections
12                                             Approval Hearing
13         Deadline for Responses to           15 days before the Final Approval
14         Objections                          Hearing
15         Final Approval hearing              At least 120 days after Preliminary
16                                             Approval
17        VI.   Conclusion
18          Based on the foregoing, Plaintiff and Class Counsel respectfully request that the
19   Court: (1) grant Preliminary Approval to the Settlement; (2) conditionally certify for
20   settlement purposes the proposed Settlement Class, pursuant to Rule 23(b)(3) and (e) of
21   the Federal Rules of Civil Procedure; (3) approve the Notice program set forth in the
22   Agreement and approve the form and content of the Notices, attached to the Settlement
23   Agreement; (4) approve and order the opt-out and objection procedures set forth in the
24   Agreement; (5) appoint Plaintiff as Settlement Class Representatives; (6) appoint as Class
25   Counsel the law firms and attorneys listed in the Agreement; and (7) schedule a Final
26   Approval Hearing. A Proposed Preliminary Approval Order is attached hereto as Exhibit
27   D.
28
                                                24
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 1
 2   Dated: February 22, 2021
 3
     Respectfully submitted,
 4
     /s/ Scott Edelsberg
 5
     Scott Edelsberg, Esq.
 6   California Bar No. 330990
     scott@edelsberglaw.com
 7
     EDELSBERG LAW, PA
 8   20900 NE 30th Ave., Suite 417
     Aventura, FL 33180
 9
     Office: (305) 975-3320
10
     IJH LAW
11
     Ignacio J. Hiraldo, Esq. (pro hac vice) 1200 Brickell Ave Suite 1950
12   Miami, FL 33131
     Email: ijhiraldo@ijhlaw.com
13
     Telephone: 786.496.4469
14
     HIRALDO PA
15
     Manuel S. Hiraldo (pro hac vice)
16   401 E. Las Olas Boulevard
     Suite 1400
17
     Ft. Lauderdale, Florida 33301
18   Email: mhiraldo@hiraldolaw.com Telephone: 954-400-4713
19
     SHAMIS & GENTILE, PA
20   Andrew J. Shamis (pro hac vice)
     14 NE 1st Avenue, Suite 400
21   Miami, Florida 33132
22   Telephone: 305-479-2299
     ashamis@shamisgentile.com
23
24
     Attorneys for Plaintiff Jamal Johnson
25
26
27
28
                                                25
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 1
 2                             CERTIFICATE OF SERVICE
 3
          I HEREBY CERTIFY that on this 2 2 n d day of February, I electronically
 4
     filed the foregoing document with the Clerk of the Court using CM/ECF. I also
 5
 6   certify that the foregoing document is being served this day on all counsel of record
 7
     via transmission of Notice of Electronic Filing generated by CM/ECF.
 8
 9
10                                                   Respectfully submitted,
11                                                   /s/ Scott Edelsberg
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                                              26
